Case 7:22-cv-00090 Document 1-1 Filed 04/14/22 Page 1 of 2




       EXHIBIT A
JS 44 (Rev. 04/21)                   Case 7:22-cv-00090 Document
                                                     CIVIL COVER 1-1 SHEET
                                                                      Filed 04/14/22 Page 2 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
       LAURIE BIXLER
                                                                                                           MIDFIRST BANK

    (b)   County of Residence of First Listed Plaintiff         ECTOR                                      County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

    (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)

          Robert C. Newark, III, A Newark Firm, 1341 W.                                                    Shelley L. Hopkins, 3 Lakeway Centre Ct., Suite 100, Austin,
          Mockingbird Lane, Suite 600W, Dallas, Texas 75247                                                Texas 78734, (512) 600-4320
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                    III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
□ 1 U.S. Government                 □ 3 Federal Question                                                                         PTF      DEF                                           PTF      DEF
          Plaintiff                         (U.S. Government Not a Party)                         Citizen of This State         □✖ 1      □ 1        Incorporated or Principal Place     □ 4 □4
                                                                                                                                                       of Business In This State

□2     U.S. Government              □
                                    ✖ 4   Diversity                                               Citizen of Another State          □2    □      2   Incorporated and Principal Place       □   5   □
                                                                                                                                                                                                    ✖ 5
         Defendant                          (Indicate Citizenship of Parties in Item III)                                                              of Business In Another State

                                                                                                  Citizen or Subject of a           □3    □ 3 Foreign Nation                                □ 6     □6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                              TORTS                               FORFEITURE/PENALTY                      BANKRUPTCY                        OTHER STATUTES
  110 Insurance                       PERSONAL INJURY               PERSONAL INJURY                  625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                          310 Airplane               □ 365 Personal Injury -                 of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                      315 Airplane Product             Product Liability             690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                Liability             □ 367 Health Care/                                                         INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment         320 Assault, Libel &             Pharmaceutical                                                     PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment            Slander                     Personal Injury                                                    820 Copyrights                    430 Banks and Banking
  151 Medicare Act                    330 Federal Employers’           Product Liability                                                  830 Patent                        450 Commerce
  152 Recovery of Defaulted                Liability             □ 368 Asbestos Personal                                                  835 Patent - Abbreviated          460 Deportation
       Student Loans                  340 Marine                       Injury Product                                                         New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)            345 Marine Product               Liability                                                          840 Trademark                         Corrupt Organizations
□ 153 Recovery of Overpayment              Liability              PERSONAL PROPERTY                           LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits           350 Motor Vehicle            370 Other Fraud                   710 Fair Labor Standards                                                   (15 USC 1681 or 1692)
□ 160 Stockholders’ Suits
□ 190 Other Contract
                                      355 Motor Vehicle
                                          Product Liability
                                                                  B371 Truth in Lending
                                                                 □ 380 Other Personal
                                                                                                         Act
                                                                                                     720 Labor/Management
                                                                                                                                              Act of 2016

                                                                                                                                          SOCIAL SECURITY
                                                                                                                                                                            485 Telephone Consumer
                                                                                                                                                                                Protection Act
  195 Contract Product Liability      360 Other Personal               Property Damage                   Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
B 196 Franchise                           Injury
                                      362 Personal Injury -
                                                                 □ 385 Property Damage
                                                                       Product Liability
                                                                                                     740 Railway Labor Act
                                                                                                     751 Family and Medical
                                                                                                                                          862 Black Lung (923)
                                                                                                                                          863 DIWC/DIWW (405(g))
                                                                                                                                                                            850 Securities/Commodities/
                                                                                                                                                                                Exchange
                                          Medical Malpractice                                            Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                     CIVIL RIGHTS              PRISONER PETITIONS                 790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation               440 Other Civil Rights       Habeas Corpus:                    791 Employee Retirement                                                893 Environmental Matters
✖ 220 Foreclosure                     441 Voting                   463 Alien Detainee                    Income Security Act             FEDERAL TAX SUITS                  895 Freedom of Information
  230 Rent Lease & Ejectment          442 Employment               510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff              Act
  240 Torts to Land                   443 Housing/                     Sentence                                                               or Defendant)                 896 Arbitration
  245 Tort Product Liability              Accommodations           530 General                                                           871 IRS—Third Party                899 Administrative Procedure
  290 All Other Real Property         445 Amer. w/Disabilities -   535 Death Penalty                     IMMIGRATION                          26 USC 7609                       Act/Review or Appeal of
                                          Employment               Other:                            462 Naturalization Application                                             Agency Decision
                                      446 Amer. w/Disabilities -   540 Mandamus & Other              465 Other Immigration                                                  950 Constitutionality of
                                          Other                    550 Civil Rights                      Actions                                                                State Statutes
                                      448 Education                555 Prison Condition
                                                                   560 Civil Detainee -
                                                                       Conditions of
                                                                       Confinement
V. ORIGIN (Place an “X” in One Box Only)
    1 Original               2 Removed from                3     Remanded from                  4 Reinstated or             5 Transferred from    6 Multidistrict                       8 Multidistrict
□                        □
                         ✖                            □                                     □                       □                                □                           □
      Proceeding               State Court                       Appellate Court                  Reopened                    Another District        Litigation -                        Litigation -
                                                                                                                              (specify)               Transfer                            Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       28 U.S.C. §§1332(a) and 1441
VI. CAUSE OF ACTION                    Brief description of cause:
                                       Plaintiff seeks injunctive relief from foreclosure and alleges claims of breach of contract, negligence, and violations of the Texas Property Code.
VII. REQUESTED IN                          CHECK IF THIS IS A CLASS ACTION                           DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                            UNDER RULE 23, F.R.Cv.P.                                                                              JURY DEMAND:                □ Yes          □
                                                                                                                                                                                            ✖ No

VIII. RELATED CASE(S)
                                          (See instructions):
      IF ANY                                                      JUDGE                                                                   DOCKET NUMBER
DATE                                                                SIGNATURE OF ATTORNEY OF RECORD
April 14, 2022                                                       /s/ Shelley L. Hopkins
FOR OFFICE USE ONLY

    RECEIPT #                   AMOUNT                                   APPLYING IFP                                       JUDGE                           MAG. JUDGE
